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UNITED STATES DISTRICT COURT

a STERN DISTRICT OF PENNSYLVANIA -— DESIGNATION FORM (0 be used by counsel to imdicaty the calegary of Che ease for dc purpose of

spotter 13 980

Wei, 7255 W 98TH TERRACE, OVERLAND PARK, KS 66212
Address of Defendants 3520 PROGRESS DRIVE, BENSALEM, PA 19020 __

Place of Accident, Incident or Transaction. VARIOUS SITES IN BUCKS COUNTY, PA
(Use Heverse Side Var Additional Space)

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Does this civil action involve a nongovernmental camparate party with any parcht comorution and asy publicly held corporation own}

(Attach two copics of the Disclogure Siatement Form in accerdapes wih Ped. R.Civ.P. 7.1 (ay) Yes!
Docs this case irvolve mutudistrict Jikiguiion possibilities? Yosh Ce)
RELATED CASE, If ANY
Cake Naber: Judge Vale Terminated:

Civil cases are deemed related when ves is answerad io any of the following questions:

1, Is this case related ta propery included in an cartier numbered suit pending or within ong year previously terminated acon in this cour?
Yeal™ Nol
2. Does this cage involve the game. ixgue of fact or erow out of the same transaction i 2 prof suit pending or within one year previously tenminntod
action in this coud?

Yes Nok
3, Does this case invelve the valrdity or infringement of a patent already in sui) oc any earlker nuniberad. case pending or within one year previously
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lempsitiated uclion in Uns court?

4, bs this case u xeeond ar successive hubear corpus, socishyecurity appeal, ac pro se civil cites cuss filed by the same Individual?

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CIVTL: (Place 7 11) ONE CATEGORY ONLY)

AL Federal Question Cases:

Deervity Jurisdiction Cases:

nsyrance Contract and Other Contracts

1. Indemnity Contract. Marine Contract, and All Other Contracts

2.90 FELA 2. © Airplane Personal Injury

4. O Jones Act-Personal Injury 3. © Assault, Defamation

4. C1 Antitrust 4. 2 Marine Personal lpjury

§. O Patent 5, @ Motor Vehicle Personal Injury

6.0 Lubor-Managemeat Relations 6. G Other Personal Injury (Please specify)
7. 0 Civil Rights 7. G Producrs Liability

$. O Habeas Corpus $. & Products Liability — Asbestos

9. 41 Sceurities Act(x) Cases 9. 2 AU omer Diversity Caxes

10.0 Social Security Review Casey (Picnse specify)

}}.0 Alt other Federal Quaescton Cases
(Please specify)

ARBITRATION CERTIFICATION |
(Check Apprupriat: Category)
‘ DAVID J. NOONAN, ESQ. . counse! of record do hereby cority: DO NOT
0 Parsuant to Local Civil Rule 59.2, Section 3(¢)(2), that 1o the best of my knowledye and belief, the damages recoverable in this ctvil ection casefexceal the sunt of
$1 50,000.00 exclusive of interest aad costs:
D Metief other than monezary daitages is sought.

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DATE:

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70 will be a trial py jury only tf Hon: bas beon complianes with FRCP. 38.

O’cusc now pending or withiv one year previously (crminated action in this court

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L certify that, fa my kaowledge, (he within case is nol re!

except ay nated above.

nave: 2-25-13

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